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         Olivia Karpinski                                   Cahill, et al. vs. Edalat, et al.

   ·1· · · · · ·IN THE UNITED STATES DISTRICT COURT

   ·2· · · · · FOR THE CENTRAL DISTRICT OF CALIFORNIA

   ·3· · · · · · · · · · SOUTHERN DIVISION

   ·4

   ·5·   ·BRUCE CAHILL, an individual, et
   · ·   ·al.,
   ·6
   · ·   · · · · · · · Plaintiffs,
   ·7·   · · · · ·vs.
   · ·   · · · · · · · · · · · · · · · · · ·Case. No. 8:16-cv-
   ·8·   · · · · · · · · · · · · · · · · · · · · ·00686-AG-DFM
   · ·   ·PAUL PEJMAN EDALAT, an individual,
   ·9·   ·et al.,

   10·   · · · · · · · Defendants.
   · ·   ·___________________________________
   11
   · ·   ·AND RELATED CROSS-CLAIMS/
   12·   ·COUNTERCLAIMS.
   · ·   ·_____________________________________
   13

   14

   15· · · · VIDEOTAPED DEPOSITION OF OLIVIA KARPINSKI

   16· · · · · · · · Newport Beach, California

   17· · · · · · · · · · ·October 14, 2016

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   20

   21

   22

   23·   ·Reported by:
   · ·   ·Debby M. Gladish
   24·   ·RPR, CCRR, CLR, CSR No. 9803
   · ·   ·NCRA Realtime Systems Administrator
   25·   ·Job No. 10027932


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        Olivia Karpinski                                    Cahill, et al. vs. Edalat, et al.

   ·1· ·around his assistant and his daughter walked up on
   ·2· ·him.· So he was implying these things.· And it made
   ·3· ·me feel uncomfortable.· I don't look at myself, you
   ·4· ·know, as that, but being a female in the company it
   ·5· ·made me feel really uncomfortable.· And I felt like
   ·6· ·he was really advancing on me and I didn't know what
   ·7· ·to do.
   ·8· · · ·Q.· ·So did he say anything else?
   ·9· · · ·A.· ·Not that I recall, just those statements.
   10· · · ·Q.· ·Did he touch you?
   11· · · ·A.· ·Not that I recall.
   12· · · ·Q.· ·Did he ever at any time touch you in or
   13· ·around your breast area to try to make sexual
   14· ·contact with you?
   15· · · ·A.· ·More my shoulder.
   16· · · ·Q.· ·Breast?· "Yes" or "no."
   17· · · ·A.· ·No.
   18· · · ·Q.· ·How about the genital areas?
   19· · · ·A.· ·No.
   20· · · ·Q.· ·How about the buttock areas?
   21· · · ·A.· ·No.
   22· · · ·Q.· ·Okay.· And he tried to kiss you on one
   23· ·occasion?
   24· · · ·A.· ·Yes.· He pulled me in and tried to kiss me.
   25· · · ·Q.· ·Okay.· And at that lunch he never tried to


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        Olivia Karpinski                                    Cahill, et al. vs. Edalat, et al.

   ·1· ·kiss you?
   ·2· · · ·A.· ·No.· But it was still very, very
   ·3· ·uncomfortable and awkward.
   ·4· · · ·Q.· ·But I'm asking a specific question and my
   ·5· ·client has an entitlement to a right to that answer.
   ·6· · · · · · He never, at that lunch, tried to kiss you;
   ·7· ·right?
   ·8· · · ·A.· ·No.
   ·9· · · ·Q.· ·Okay.· And no other inappropriate touching
   10· ·at that lunch?
   11· · · ·A.· ·No.
   12· · · ·Q.· ·Okay.· And no other inappropriate touching
   13· ·of the breast, genital or buttocks areas any other
   14· ·time?
   15· · · ·A.· ·On my shoulder very closely, but, no.
   16· · · ·Q.· ·Okay.· And when you went to the police for
   17· ·the first time, it was about specifically what, the
   18· ·attempted kiss?
   19· · · ·A.· ·I told them the entire story.· I told them
   20· ·I didn't feel safe and I told them the entire story.
   21· · · ·Q.· ·And when you went in, did you get the name
   22· ·of the officer?
   23· · · ·A.· ·I didn't go in.· They came to me and I did
   24· ·not get the name of the officer.
   25· · · ·Q.· ·You didn't ask them for their cards?


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        Olivia Karpinski                                    Cahill, et al. vs. Edalat, et al.

   ·1· · · ·A.· ·The company I work for --
   ·2· · · ·Q.· ·And what's --
   ·3· · · ·A.· ·-- my phone number and my e-mail.
   ·4· · · ·Q.· ·And what's the company that you work for?
   ·5· · · ·A.· ·Well, I work for myself.· It's AOK
   ·6· ·Consulting.
   ·7· · · ·Q.· ·Is that what the card says?
   ·8· · · ·A.· ·No, but I work with the company, Sentar, I
   ·9· ·have a business card for that company.
   10· · · ·Q.· ·And what does that company say your title
   11· ·is?
   12· · · ·A.· ·EVP of sales.
   13· · · ·Q.· ·Okay.· All right.· Can you take a look at
   14· ·page 23 of Exhibit 21.
   15· · · ·A.· ·Yes.
   16· · · ·Q.· ·You are describing here, starting at the
   17· ·top of page 23, quote, "Edalat left the conference
   18· ·room and moved to shake Cahill's hand as well.· At
   19· ·this time Cahill pulled Karpinski in for a hug and
   20· ·kissed Karpinski against her will."
   21· · · · · · That is the same event that you were
   22· ·talking about before earlier in the complaint?
   23· · · ·A.· ·Yes.
   24· · · ·Q.· ·So he's attempted to kiss you, according to
   25· ·you, one time?


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        Olivia Karpinski                                    Cahill, et al. vs. Edalat, et al.

   ·1· · · ·A.· ·Yes.· He did kiss me.· It landed on my
   ·2· ·face, just not on my lips.
   ·3· · · ·Q.· ·I didn't say otherwise.· I just said that
   ·4· ·was the one time that he attempted to kiss you.· And
   ·5· ·you say he attempted to kiss you on the lips?
   ·6· · · ·A.· ·Yes.
   ·7· · · ·Q.· ·All right.· But you deflected it?
   ·8· · · ·A.· ·Yes.
   ·9· · · ·Q.· ·Okay.· Now, go down to the bottom of
   10· ·page 23 of the same document, Exhibit 21, last
   11· ·sentence it says, "A maliciously false statement
   12· ·Cahill instigated Weimann to terminate his
   13· ·employment with Pharma Pak, Inc. that same day, as
   14· ·well as demand Karpinski's termination."
   15· · · · · · What maliciously false statement are you
   16· ·referring to there?
   17· · · ·A.· ·Bruce told Dr. Weimann that I said that
   18· ·Dr. Weimann was stealing patch material.· We had
   19· ·already had a conversation about the patches and how
   20· ·the cutting produced about a 40 percent waste, so
   21· ·that had something that had already been cleared up.
   22· ·Mr. Cahill stated to Dr. Weimann that I -- me -- I
   23· ·thought that he was stealing patch material.
   24· · · · · · Dr. Weimann then got very upset, threatened
   25· ·to quit.· Bruce actually came in my office, slammed


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